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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                           §
                                                  §
 Highland Capital Management, L.P.,               §       Bankr. Case No. 19-34054-sgj-11
                                                  §
           Debtor.                                §
                                                  §
 Highland Capital Management Fund                 §
 Advisors, L.P., now known as NexPoint            §
 Asset Management, L.P., and NexPoint             §
 Advisors, L.P.,                                  §
                                                  §
           Appellants,                            §       Civil Act. No. 3:22-cv-02170-S
                                                  §
 v.                                               §
                                                  §
 Highland Capital Management, L.P.,               §
                                                  §
           Appellee.                              §

                         NOTICE OF APPEAL TO THE UNITED STATES
                         COURT OF APPEALS FOR THE FIFTH CIRCUIT

          NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors, L.P. (now

known as NexPoint Asset Management, L.P.), as movants in the Bankruptcy Court and appellants

in the District Court (the “Appellants”), hereby appeal to the United States Court of Appeals for

the Fifth Circuit from the Memorandum Opinion and Order of the United States District Court for

the Northern District of Texas, entered in this case on February 28, 2024 at Dkt. No. 35 (the

“Judgment”), which affirmed the decision of the Bankruptcy Court from which the Appellants

originally appealed.

          The parties to the Judgment appealed from and the names and addresses of their respective

attorneys are as follows:




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         RESPECTFULLY SUBMITTED this 27th day of March, 2024.

                                                 MUNSCH HARDT KOPF & HARR P.C.

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                                   CERTIFICATE OF SERVICE

        I hereby certify that, on March 27, 2024, I caused true and correct copies of this document
to be served on the following recipients via the Court’s CM/ECF system:

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